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UNITED STATES DISTRICT COURT FOR THE
EASTERN DISTRICT OF LOUISIANA

sTANLEY RoBINsoN )c
§ 08-1008|
Plaintiff, )
)
v. § DIvIsIoN. SEc-|~ -|- MAG 1
THEREx,INc. )
Defendant. §
)

 

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NGTICE OF REMOVAL

Defendant, Therex, Inc. (“Therex”), petitions for removal of an action instituted by
plaintiff, Stanley Robinson, (“p|aintiff") against defendant, currently pending in the Thirty-
Second Judicial District Court for the Parish of Terrebonne, Docket No. 153334. Petitioner
respectfully shows that:

1. Defendant herein, Therex, Inc., is a corporation incorporated by the State of

Delaware, and having its principal place of business in Tennessee.
2. On January 10, 2008, plaintiff instituted an action against defendant in the

Thirty-Second Judicial District Court for the Parish of Terrebonne, by filing in

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._.__ CtRmDep_____.
____ Doc. No.

 

 

 

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said Court the initial pleading a Petition for Damages, setting forth an action
against defendant for alleged negligence. (See Exhibit A). Plaintiff avers
that he is domiciled in the State of Louisiana.

A copy of plaintiffs’ Petition was served on January 16, 2008, by service of
the petition on Therex' registered agent, Corporation Service Company. Less
than thirty days have transpired since the Petition was served, and the thirty
day time period to remove this action has not expired.

Therex files with this Petition for Removal a copy of plaintiffs’ Citation and
Petition in the State District Court action, (Exhibit A), and Plaintiffs
Interrogatories, Request for Admissions, and Request for Production of
Documents (Exhibit B) which are all the process, pleadings, and orders
served upon defendant in said action.

This Court has original jurisdiction under the provisions of 28 U.S.C. § 1332,
in that it is a civil action wherein, upon information and belief, the matter in
controversy may exceed the requisite jurisdictional amount, exclusive of
interest and costs, and is between citizens of different states.

The jurisdictional amount of $75,000 is satisfied in that plaintiffs’ Petition
claims economic and general damages including "unnecessary pain and

suffering, loss of enjoyment of |ife, loss of income, medical expense, past

 

 

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and present, deterioration of general health, and past and future mental pain
and suffering.”

WHEREFORE, pursuant to 28 U.S.C. § 1332, defendant removes to the United
States District Court for the Eastern District of Louisiana, the action commenced by plaintiff
in the Thirty-Second Judicial District Court for the Parish of Terrebonne, State of Louisiana,
Stan/ey Robinson versus Therex, Inc., pending under Docket No. 153334, and asks this

Court to issue any necessary orders and process for the aforesaid action to proceed in this

Court.

 

    

ISAAC ' R.YN (#23925)

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THEREX, INC.

 

 

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CERTIFICATE OF SERVICE
The undersigned hereby certifies that copies of the Petition for Removal and Notice
to Counsel of Petition for Removal were served on the attorneys listed below, via U.S. Mail,
this 15th day of February, 2008.
Pamela Ashman

10101 Siegen Lane, Suite A, Bldg 4
Baton Rouge, LA 70810

 

@PFDesklop\::ODMA/MHODMAIDKSDMS;DKS;632619;1

 

